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                    EXHIBIT D
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                                Plaintiff,

                   v.                                  Civil Action No. 1:20-cv-03590 (JEB)

META PLATFORMS, INC.

                                Defendant.


    Declaration of Nathan Brenner in Support of Plaintiff Federal Trade Commission’s
                     Bench Brief Regarding Post-Discovery Evidence

I, Nathan Brenner, declare as follows:

   1. I am Deputy Chief Trial Counsel for the Federal Trade Commission (“FTC”) Bureau of

         Competition. I am over the age of 18 and a counsel of record for the FTC in the above-

         captioned matter. I make this declaration based on personal knowledge. I make this

         declaration in support of Plaintiff’s Bench Brief Regarding Post-Discovery Evidence.

   2.




   3.




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4.




5. Throughout the course of this litigation, Meta has repeatedly emphasized the close of fact

      discovery when seeking to compel FTC responses or to quash discovery requests to Meta.

      See, e.g., Jt. Status Rep. at 35-36 (May 31, 2023), ECF No. 301 (“The FTC’s request for

      additional communications and data ‘relating to’ these efforts is cumulative and

      disproportionate to the needs of the litigation at this late stage.”); Jt. Status Rep. at 43, 48,

      49, 50, 55, 56, 60-61, 64 (May 2, 2023), ECF No. 286 (citing close of fact discovery both

      as basis to require FTC responses and limit Meta responses); Jt. Status Rep. at 37 (Jan.

      31, 2023), ECF No. 237 (“While Meta has been expeditiously pursuing non-party

      discovery, it has relied on that fact discovery deadline, and cutting short the timeline for

      non-party discovery would significantly prejudice Meta’s ability to get the discovery it

      needs to defend against the FTC’s ever-changing theories.”); Meta Opp. to Mot. to Show

      Cause at 2-3 (Aug. 5, 2022), ECF No. 168 (citing June 30, 2022 cutoff date as a reason to

      delay completing document production).

6.




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                                             Meta claimed burden at the idea of “refreshing”

     its document productions for the FTC as the close of fact discovery approached, and only

     agreed to a limited scope refresh in the first quarter of 2023 for a limited number of

     custodians. Meta Brief in Opp. at 2-3 (Apr. 21, 2023), ECF No. 276 (objecting that

     “[t]he FTC now unfairly casts aside Meta’s settled expectations and demands that Meta

     redo its prior collections to find documents created after June 30, 2022” and “[w]ith just a

     month of fact discovery left, Meta should not be forced to also bear the immense burden

     of additional collection, review, and production of even more First RFP documents”); see

     also Jt. Status Rep. at 36-37, 60-62 (May 2, 2023), ECF No. 286.



Dated:   May 9, 2025                     Respectfully submitted,

                                         /s/ Nathan Brenner
                                         Nathan Brenner (IL Bar 6317564)




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                     EXHIBIT A
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